      Case: 1:14-cv-10148 Document #: 51 Filed: 01/11/16 Page 1 of 2 PageID #:442



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARIO ALIANO, individually, and
                            )
on behalf of all others similarly situated,
                            )
                            )
               Plaintiff,   )
                            )
         v.                 )                        No. 14 cv 10148
                            )
WHISTLEPIG, LLC, and        )                        Magistrate Judge Sheila M. Finnegan
GOAMERICAGO BEVERAGES, LLC, )                        (consent for all purposes)
                            )
               Defendants.  )



                                STIPULATION OF DISMISSAL

        The undersigned parties, by their respective counsel, hereby agree and stipulate, pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(ii), to the dismissal of this action in its entirety, including all

claims asserted against Defendants Whistlepig, LLC and Goamericago Beverages, LLC. This

dismissal, as to the claims of Plaintiff Mario Aliano, is with prejudice. This dismissal, as to the

claims of the putative class members, is without prejudice.


Plaintiff MARIO ALIANO, individually, and on Defendants WHISTLEPIG, LLC and
behalf of all others similarly situated,     GOAMERICAGO BEVERAGES, LLC,


By:    /s/ Thomas A. Zimmerman, Jr.                 By:    /s/ Michael D. Hayes
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                                                    Counsel for Defendants
Counsel for the Plaintiff and the Putative Class
    Case: 1:14-cv-10148 Document #: 51 Filed: 01/11/16 Page 2 of 2 PageID #:443



                              CERTIFICATE OF SERVICE

      Matthew C. De Re, an attorney, hereby certifies that he caused the above and foregoing
document to be served upon counsel of record in this case via the U.S. District Court CM/ECF
System, on this day January 11, 2016.


                                   /s/ Matthew C. De Re




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